From: CID Info <C|IDinfo@peta.org>
Sent: Wed, 26 Aug 2020 17:29:18 +0000
To: "Teresa Marshall (PETA Foundation)" <teresam@petaf.org>
Subject: FW: Report Cruelty: More than just zoo animals suffering
Privileged
Maura McKeon, PETA
Your gift to PETA will save animals. Please donate now.
From: Anony Mous <noreply@peta.org>
Sent: Tuesday, August 25, 2020 8:46 PM
To: CID Info <ClDinfo@peta.org>
Subject: Report Cruelty: More than just zoo animals suffering
The issue I'm reporting involves:
Domestic or farmed animals or wildlife
First Name
Anony
Last Name
Mous
City
Cumberland
County
Allegany




                                                                                                                              EXHIBIT J
                                                                    Case 1:20-cv-01225-PX Document 71-38 Filed 12/20/21 Page 1 of 35
State
PETA003542
*
Maryland
Country/Region
United States
Zip/Postal Code
21502
E-mail
Checkitoutandhelpplease@aol.com
Address Where Animal Is Located
12605 Moores Hollow Road
City Where Animal Is Located
Cumberland
County Where Animal Is Located
Allegany
State Where Animal Is Located
Maryland
Zip/Postal Code Where Animal Is Located
21502
Country/Region Where Animal Is Located
United States
Subject Line of E-Mail
More than just zoo animals suffering




                                                                                              Case 1:20-cv-01225-PX Document 71-38 Filed 12/20/21 Page 2 of 35
Please describe your concern, including the names and contact information of the
individuals and agencies involved, dates and times, the exact location of the incident, and
what has been done thus far:
Please help these animals. The only reason this animal was helped is bc it was dying. It had a
life threatening uterine infection. I cannot state info due to my employment. You had seized
animals from his location before. Help them. The man has no business having animals. His
name is Bob Candy.
Photo #1
15984024420694876594288860014941.jpg
Photo #2
15984024805501572039933645250402.jpg
Photo #3
15984025285996602316225328862681.jpg
Photo #4
15984025671318804723872219780344.jpg




                                                                                                 Case 1:20-cv-01225-PX Document 71-38 Filed 12/20/21 Page 3 of 35
From: PETA Info <info@peta.org>
Sent: Wed, 20 May 2020 21:03:31 +0000
To: "Teresa Marshall (PETA Foundation)" <teresam@petaf.org>
Subject: FW: Will to help save the animals from Tri-State Zoological Park - Ask PETA a Question
Form
Privileged
-Heidi
From: | Confidential 1On Behalf Of info@peta.org
Sent: Wednesday, May 20, 2020 4:04 PM
To: PETA Info <info@peta.org>
Subject: Will to help save the animals from Tri-State Zoological Park - Ask PETA a Question Form
Yes
PETA's Online
Community
First Name timothy
Last Name yutzy
Address 1 | Confidential
Address 2
City
Country/Region
County




                                                                                                   Case 1:20-cv-01225-PX Document 71-38 Filed 12/20/21 Page 4 of 35
State/Province
Zip/Postal Code
Tel.
E-Mail
PETA003344
*
Are youa
student? This
helps us route
you to the right
PETA staffer to
help!
What is your
deadline (be
specific)?
Subject Line of
E-Mail
Your Message
(please include
all relevant
details and
links)
Get texts &
occasional
phone calls for
Action Alerts,
local events, &




                                   Case 1:20-cv-01225-PX Document 71-38 Filed 12/20/21 Page 5 of 35
other updates to
help animals
with PETA!
(optional)
Mobile Phone
No
Will to help save the animals
from Tri-State Zoological Park
Hi, 14?Tve seen where PETA
has a lawsuit against the Tri-
State Zoological Park to save
the animals. I live in the same
area as the park and
completely agree that the
animals need saved from their
current horrific habitats. 14?Tm
reaching out because I want to
help. Not sure how I can help
but 14?Tm here if you need me.
Thanks PETA for everything
you do.
peta_general
Confidential
PETA003345
*
By clicking, you 29614
agree to receive
automated texts
and calls from
PETA and
accept our
terms and
conditions.
Message and
data rates may
apply. U.S.
mobile users
only.
Please sign me yes
up for PETA's
E-News.
Current
subscribers:
You will
continue to
receive e-mail




                         Case 1:20-cv-01225-PX Document 71-38 Filed 12/20/21 Page 6 of 35
unless you
explicitly opt
out by clicking
here
Please sign me yes
up for PETA's
Membership
Updates.
Current
subscribers:
You will
continue to
receive e-mail
unless you
explicitly opt
out by clicking
here
From: PETA Info <info@peta.org>
Sent: Thu, 06 Feb 2020 18:56:26 +0000
To: Michelle Sinnott <MichelleS@petaf.org>
CC: Brittany Peet <BrittanyP@petaf.org>
Subject: FW: RESCUED! Cheyenne, Mowgli, and Peka are en route to accredited sanctuary
-Heidi
From: newsmanager <newsmanager@peta.org>
Sent: Thursday, February 6, 2020 8:58 AM
To: PETA Info <info@peta.org>
Subject: FW: RESCUED! Cheyenne, Mowgli, and Peka are en route to accredited sanctuary
Confidential
-Ariana
From: Randall K. Foreman|] Confidential
Sent: Wednesday, February 5, 2020 9:52 PM
To: newsmanager <newsmanager@peta.org>
Subject: Re: RESCUED! Cheyenne, Mowgli, and Peka are en route to accredited sanctuary
What about the one animal at issue? Why can't you sue to get the bears, bobcat and monkey
away from this rat trap?
Randall K. Foreman
On Wednesday, February 5, 2020, 12:34:47 PM CST, PETA < newsmanager@peta.org> wrote:
PETA002653




                                                                                            Case 1:20-cv-01225-PX Document 71-38 Filed 12/20/21 Page 7 of 35
*
From: PETA Info <info@peta.org>
Sent: Wed, 05 Feb 2020 22:01:57 +0000
To: Jen O'Connor <Jeno@peta.org>
Subject: FW: Tri State Zoo - Ask PETA a Question Form
-Heidi
From:| Confidential lOn Behalf Of info@peta.org
Sent: Wednesday, February 5, 2020 4:08 PM
To: PETA Info <info@peta.org>
Subject: Tri State Zoo - Ask PETA a Question Form
Yes
PETA's Online
Community
First Name Vasiliki
Last Name Vassilaros Papalas
Address 1] Confidential
Address 2
City
Country/Region
County
State/Province
Zip/Postal Code




                                                        Case 1:20-cv-01225-PX Document 71-38 Filed 12/20/21 Page 8 of 35
Tel.
E-Mail
Are you a student? This No
helps us route you to the
right PETA staffer to
help!
What is your deadline
(be specific)?
PETA002566
*
Subject Line of E-Mail Tri State Zoo
Your Message (please What can be done to
include all relevant permanently close the
details and links) zoo?
peta_general
Become a PETA First
Responder (optional and
available only to mobile
users in the United
States)
Mobile Phone
I agree to the texting
T&Cs. Message and
data rates may apply.
Please sign me up for yes
PETA's E-News.
Current subscribers:
You will continue to
receive e-mail unless you
explicitly opt out by
clicking here




                                             Case 1:20-cv-01225-PX Document 71-38 Filed 12/20/21 Page 9 of 35
Please sign me up for yes
PETA's Membership
Updates. Current
subscribers: You will
continue to receive e-
mail unless you
explicitly opt out by
clicking here
From: PETA Info <info@peta.org>
Sent: Mon, 10 Feb 2020 19:45:25 +0000
To: Brittany Peet <BrittanyP@petaf.org>
Subject: FW: Tri-state zoological park please rescue remaining animals - Ask PETA a Question
Form
Privileged
“Heidi
From: | Confidential On Behalf Of info@peta.org
Sent: Monday, February 10, 2020 9:59 AM
To: PETA Info <info@peta.org>
Subject: Tri-state zoological park please rescue remaining animals - Ask PETA a Question Form
Yes
PETA's Online
Community
First Name Nicole
Last Name Poling
Address confidential
Address 2
City
Country/Region]
County




                                                                                                Case 1:20-cv-01225-PX Document 71-38 Filed 12/20/21 Page 10 of 35
State/Province
Zip/Postal Code
Tel.
E-Mail]
PETA002870
*
Are you a No
student? This
helps us route
you to the right
PETA staffer to
help!
What is your Soon
deadline (be
specific)?
Subject Line of Tri-state zoological park
E-Mail please rescue remaining
animals
Your Message Hello, I know you have
(please include received a ton of harassment
all relevant from supporters of the Tri State
details and zoological park in Cumberland
links) maryland. I have also been
under heavy harassment as I
have openly supported the
rescue of the big cats, the
protesters stop at no means and




                                                Case 1:20-cv-01225-PX Document 71-38 Filed 12/20/21 Page 11 of 35
when advice is offered often
use terms such as uneducated
and stupid towards anyone who
opposes in fact their support
wars admittingly for the
feelings of Bob Candy on this
subject. Anyone who seems to
have a soul interest in the cats
well-being is harassed by.
Various of these protesters.
Stand Strong; as there is
already many posts and talks
about ways to make the appeal
go through. Which comes to
my email; in one of the posts
they are planning a community
day, where it was admitted that
Bob lacks the finances to buy
food, let alone buy equipment
and pay for help to try and get
the zoo to code. I wish I could
share these updates with you
however I have not seen any
way to send you the details.
My main concern is the
begging for Animal Food for
the remaining animals, as well
as cleaning supplies and the
worst begging yet is looking
for a contractor and supplies
Become a PETA
First Responder
(optional and
available only to
mobile users in
the United
States)
Mobile Phone
I agree to the
texting T&Cs.
Message and
data rates may
apply.
Please sign me
up for PETA's
E-News.
Current
subscribers:
You will
continue to
receive e-mail




                                   Case 1:20-cv-01225-PX Document 71-38 Filed 12/20/21 Page 12 of 35
unless you
explicitly opt
out by clicking
here
for free in order to make the
enclosures updated. This is
good however I am concerned
by the fact that the zoo is
begging for animal food. Is
there anything that can be done
for the remaining animals? He
really needs to step back and
realize if he cannot financially
care for these animals without
begging or handouts then they
need to be somewhere they can
be fed and taken care of. The
community day is March 22, if
there is someway I could send
you the flyer they made
begging people to put them in
storefronts etc, let me know I
would like to keep you guys in
the loop so that these animals
can all be rescued.
peta_general
Confidential
29614
yes
PETA002872
*
Please sign me yes
up for PETA's
Membership
Updates.
Current
subscribers:
You will
continue to
receive e-mail
unless you
explicitly opt
out by clicking
here




                     Case 1:20-cv-01225-PX Document 71-38 Filed 12/20/21 Page 13 of 35
From: PETA Info
Sent: Tue, 18 Feb 2020 18:09:10 +0000
To: Brittany Peet <BrittanyP@petaf.org>
Subject: FW: TRI-STATE ZOO IN CUMBERLAND,MD - Ask PETA a Question Form
<info@peta.org>
Privileged
From:| Confidential
info@peta.org
Sent: Monday, February 17, 2020 10:16 PM
To: PETA Info <info@peta.org>
Subject: TRI-STATE ZOO IN CUMBERLAND,MD - Ask PETA a Question Form
Yes
PETA's Online
Community
First Name RODNEY
Last Name DAY
Dn Behalf Of
Address 1
Address 2
City
Country/Region




                                                                         Case 1:20-cv-01225-PX Document 71-38 Filed 12/20/21 Page 14 of 35
County
State/Province
Zip/Postal Code
Tel.
E-Mail
Confidential
PETA002973
*
Are you a No
student? This
helps us route
you to the right
PETA staffer to
help!
What is your
deadline (be
specific)?
Subject Line of TRI-STATE ZOO IN
E-Mail CUMBERLAND,MD
Your Message I HEARD YOU GUYS TOOK
(please include THE LION PEKA WHICH THE
all relevant OWNER OF THE ZOO BOB
details and BOUGHT FROM A BREEDER
links) IN INDIANA. ALSO I HEARD
YOU GUYS TOOK THE
TIGERS. AS A EX
VOLUNTEER I CAN TELL
YOU ALOT. BUT IM
CONCERNED ABOUT THE




                                          Case 1:20-cv-01225-PX Document 71-38 Filed 12/20/21 Page 15 of 35
OTHER ANIMALS AT THE
ZOO PLEASE TAKE THEM.
THEIR WAS A SERVAL AS
WELL. HE HAD A GOAT
THEN AND HIS HOOVES
WHERE TOO LONG SO BOB
SAID ILL TAKE IT TO MY
HOUSE SO IT WONT BE
SEEN. PLEASE CHECK HIS
HOUSE I KNOW HE KEEPS
THE GROUND HOG THERE.
HE LIVES ON IRONS
MOUNTAIN IN CASE YOU
DONT KNOW. THANK
YOU,THIS SHOULD HAVE
BEEN DONE YEARS AGO.
peta_general
Become a PETA
First Responder
(optional and
available only to
mobile users in
the United
States)
Mobile Phone
I agree to the
texting T&Cs.
Message and
data rates may
apply.
Please sign me yes
up for PETA's
E-News.
Current
subscribers:
You will
continue to
receive e-mail
unless you
explicitly opt
out by clicking
here
Please sign me yes
up for PETA's
Membership
Updates.




                     Case 1:20-cv-01225-PX Document 71-38 Filed 12/20/21 Page 16 of 35
Current
subscribers:
You will
continue to
receive e-mail
unless you
explicitly opt
out by clicking
here
From: PETA Info <info@peta.org>
Sent: Wed, 05 Feb 2020 20:46:49 +0000
To: Jen O'Connor <Jeno@peta.org>
Subject: FW: RESCUED! Cheyenne, Mowgli, and Peka are en route to accredited sanctuary
-Heidi
From: newsmanager <newsmanager@peta.org>
Sent: Wednesday, February 5, 2020 3:26 PM
To: PETA Info <info@peta.org>
Subject: FW: RESCUED! Cheyenne, Mowgli, and Peka are en route to accredited sanctuary
Confidential
-Ariana
From: Marlene 7 Confidential
Sent: Wednesday, February 5, 2020 2:27 PM
To: newsmanager <newsmanager@peta.org>
Subject: Re: RESCUED! Cheyenne, Mowgli, and Peka are en route to accredited sanctuary
It took 4 years to rescue these poor animals...that is so wrong on so many levels!!
Sent from my iPhone
On Feb 5, 2020, at 10:41 AM, PETA <newsmanager@peta.org> wrote:
PETA002543
*




                                                                                        Case 1:20-cv-01225-PX Document 71-38 Filed 12/20/21 Page 17 of 35
From: PETA Info <info@peta.org>
Sent: Wed, 14 Aug 2019 21:22:41 +0000
To: Zeynep Graves <ZeynepG@petaf.org>, "Teresa Marshall (PETA Foundation)"
<teresam@petaf.org>, Christine Capaldo <ChristineC @petaf.org>
CC: Brittany Peet <BrittanyP@petaf.org>
Subject: RE: Tri-State Zoo is horrible, smells of death - Ask PETA a Question Form
Privileged
From: Zeynep Graves <ZeynepG@petaf.org>
Sent: Wednesday, August 14, 2019 1:54 PM
To: Teresa Marshall (PETA Foundation) <teresam@petaf.org>; PETA Info <info@peta.org>;
Christine Capaldo <ChristineC @petaf.org>
Cc: Brittany Peet <BrittanyP@petaf.org>
Subject: RE: Tri-State Zoo is horrible, smells of death - Ask PETA a Question Form
Privileged
Zeynep Graves
Manager for Animal Law
PETA Foundation
2154 W. Sunset Blvd.
Los Angeles, CA 90026
T: (323) 210-2263
F: (213) 484-1648




                                                                                                        Case 1:20-cv-01225-PX Document 71-38 Filed 12/20/21 Page 18 of 35
This message may be protected by the attorney-client privilege and/or the attorney work product
doctrine. If you believe you have received this message in error, please do not read it. Please reply
to the sender that it has been sent in error and delete all copies of the message and its
attachments. Thank you.
PETA008650
*
From: Teresa Marshall (PETA Foundation) <teresam@petaf.org>
Sent: Wednesday, August 14, 2019 10:51 AM
To: PETA Info <info@peta.org>; Zeynep Graves <ZeynepG@petaft.org>; Christine Capaldo
<ChristineC @petaf.org>
Cc: Brittany Peet <BrittanyP@petaf.org>
Subject: RE: Tri-State Zoo is horrible, smells of death - Ask PETA a Question Form
Privileged
Teresa Marshall
Information Officer
Captive Animal Law Enforcement
PETA Foundation
(757) 962-8323 (office)
(757) 628-0784 (fax)
(757) 237-2617 (cell)
All beings seek for happiness; so let your compassion extend itself to all. ~ Mahavamsa
From: PETA Info <info@peta.org>
Sent: Wednesday, August 14, 2019 11:23 AM
To: Teresa Marshall (PETA Foundation) < teresam@petaf.org>
Subject: FW: Tri-State Zoo is horrible, smells of death - Ask PETA a Question Form
Privileged
From:




                                                                                          Case 1:20-cv-01225-PX Document 71-38 Filed 12/20/21 Page 19 of 35
Sent: Wednesday, August 14, 2019 1T:02 AM
To: PETA Info <info@peta.org>
Confidential
On Behalf Of info@peta.org
Subject: Tri-State Zoo is horrible, smells of death - Ask PETA a Question Form
PETA008651
*
PETA's Online
Community
First Name
Last Name
Address 1
Address 2
City
Country/Region
County
State/Province
Zip/Postal Code
Tel.
E-Mail
Are youa
student? This
helps us route
you to the right
PETA staffer to
help!
What is your
deadline (be




                                             Case 1:20-cv-01225-PX Document 71-38 Filed 12/20/21 Page 20 of 35
specific)?
Subject Line of Tri-State Zoo is horrible,
Yes
William
Perdew
Confidential
No
E-Mail smells of death
PETA008652
*
Your Message I had never been to the local
(please include zoo before. I thought there
all relevant might be someone there who
details and could help me with a baby deer
links) sitting alone on the interstate.
When I arrived at the zoo, I
was shocked at the condition
of the property and the housing
of the animals. I could not find
anyone working there. I
walked around and the smell of
death is in the air. This is not
right, this is not a zoo, it is a
death camp. I am not
exaggerating, lone animals
sitting in solitary cages and
fences is torture. This needs to
be shut down permanently.
peta_general
Become a PETA
First Responder




                                              Case 1:20-cv-01225-PX Document 71-38 Filed 12/20/21 Page 21 of 35
(optional and
available only to
mobile users in
the United
States)
Mobile Phone
I agree to the
texting T&Cs.
Message and
data rates may
apply.
Please sign me yes
up for PETA's
E-News.
Current
subscribers:
You will
continue to
receive e-mail
unless you
explicitly opt
out by clicking
here
Please sign me yes
up for PETA's
Membership
Updates.
Current
subscribers:
You will
continue to
receive e-mail
unless you
explicitly opt
out by clicking
here




                     Case 1:20-cv-01225-PX Document 71-38 Filed 12/20/21 Page 22 of 35
From: CID Info <C|Dinfo@peta.org>
Sent: Sat, 13 Apr 2019 23:30:07 +0000
To: "Teresa Marshall (PETA Foundation)” <teresam@petaf.org>
Subject: FW: Report Animal Cruelty Form
Privileged
From:| Confidential
Sent: Saturday, April 13, 2019 7.03 PM
To: CID Info <C!lDinfo@peta.org>
Subject: Report Animal Cruelty Form
The issue I'm Exotic animals in captivity
reporting
involves:
Please enter
your contact
information
below.
First Name Haley
Last Name Patterson
On Behalf Of info@peta.org
Address 1 Confidential
Address 2




                                                              Case 1:20-cv-01225-PX Document 71-38 Filed 12/20/21 Page 23 of 35
City
County
State/Province
Country/Region
Zip/Postal Code
PETA008472
*
Tel. (home) | Confidential
Tel. (cell)
E-Mail
Address Where
Animal Is
Located
City Where Cumberland
Animal Is
Located
County Where
Animal Is
Located
State Where MD
Animal Is
Located
Country/Region United States
Where Animal
Is Located
Subject Line off Confidential
E-Mail
Please describe My mother and I visited




                                                   Case 1:20-cv-01225-PX Document 71-38 Filed 12/20/21 Page 24 of 35
your concern, Tristate Zoo in Cumberland,
including the Maryland. First impressions
names and just pulling up to this zoo
contact made us not want to even go
information of in. The very first pen we
the individuals visited had a peacock and a pig
and agencies in it. It was so disgusting, there
involved, dates was poop everywhere and all
and times, the the buildings were falling
exact location apart. We then visited the bird
of the incident, area and the walls consisted of
and what has tarps and blankets that were
been done thus filthy and the cages were filled
far: with feces. The reptile
enclosures were like a horror
movie. We noticed that some
of the animals were clawing to
get out. Stray cats were
everywhere, laying all over the
cages. The alligators were in
Rubbermaid containers with
rusted fences thrown on top in
order to keep them in. We
went to the tiger and bear
PETA008473
*
section and it looked like it
was in the middle of a
junkyard. In one section we
saw that a sharp blade on a saw
was out in the open for a child
to get hurt on. The bear
enclosure had green water and
a cut down dead pine tree in
the middle of the enclosure.
Same for the tigers, except they
also had half eaten carcasses
laying about. We were then
overheard saying how poor the
conditions were and became
surrounded by the zoo staff
and owner and they began to
harass us on why we thought
there were signs of animal
cruelty. They told us that they
were being sued by PETA and
that if we told anyone what we




                                   Case 1:20-cv-01225-PX Document 71-38 Filed 12/20/21 Page 25 of 35
saw, we would have to go to
court. They also wanted to
make sure that we had no
videos or pictures of their zoo.
My daughter and I simply just
left. These animals would be
better off to be put down than
to live in the conditions that
they are currently living in
right now. What we saw today
will forever haunt us. This
happened on April 13, 2019.
Photos help us
help animals. If
you have any
photos of the
animals in
question, please
attach them
From: CID Info <C|IDinfo@peta.org>
Sent: Sat, 13 Apr 2019 23:31:57 +0000
To: Kate Parnin <KateP@petaf.org>
Subject: FW: Report Animal Cruelty Form
Privileged
From:| Confidential
Sent: Saturday, April Ts, ZOTI 7-19 PM
To: CID Info <CIDinfo@peta.org>
Subject: Report Animal Cruelty Form
The issue I'm Exotic animals in captivity
reporting
involves:
Please enter
your contact
information
below.
First Name Faith
Last Name Patterson
On Behalf Of info@peta.org
Address 1 | Confidential
Address 2




                                            Case 1:20-cv-01225-PX Document 71-38 Filed 12/20/21 Page 26 of 35
City
County
State/Province
Country/Region
Zip/Postal Code
Tel. (home)
Tel. (cell)
PETA002201
*
E-Mail |} Confidential
Address Where Tri-State Zoo
Animal Is
Located
City Where Cumberland
Animal Is
Located
County Where
Animal Is
Located
State Where MD
Animal Is
Located
Country/Region United States
Where Animal
Is Located
Subject Line of Tri-State Zoo
E-Mail
Please describe My daughter and I visited the
your concern, Tri-State zoo. First
including the impressions just pulling up to




                                                   Case 1:20-cv-01225-PX Document 71-38 Filed 12/20/21 Page 27 of 35
names and this zoo made us not want to
contact even go in. The very first pen
information of we visited had a peacock and a
the individuals pig in it. It was so disgusting,
and agencies there was poop everywhere
involved, dates and all the buildings were
and times, the falling apart. We then visited
exact location the bird area and the walls
of the incident, consisted of tarps and blankets
and what has that were filthy and the cages
been done thus were filled with feces. The
far: reptile enclosures were like a
horror movie. We noticed that
some of the animals were
clawing to get out. Stray cats
were everywhere, laying all
over the cages. The alligators
were in Rubbermaid containers
with rusted fences thrown on
top in order to keep them in.
We went to the tiger and bear
section and it looked like it
was in the middle of a
junkyard. In one section we
saw that a sharp blade on a saw
was out in the open for a child
PETA002202
*
to get hurt on. The bear
enclosure had green water and
a cut down dead pine tree in
the middle of the enclosure.
Same for the tigers, except they
also had half eaten carcasses
laying about. We were then
overheard saying how poor the
conditions were and became
surrounded by the zoo staff
and owner and they began to
harass us on why we thought
there were signs of animal
cruelty. They told us that they
were being sued by PETA and
that if we told anyone what we
saw, we would have to go to
court. They also wanted to
make sure that we had no
videos or pictures of their zoo.
My daughter and I simply just




                                   Case 1:20-cv-01225-PX Document 71-38 Filed 12/20/21 Page 28 of 35
left. These animals would be
better off to be put down than
to live in the conditions that
they are currently living in
right now. What we saw today
will forever haunt us. This
happened on April 13, 2019.
Photos help us
help animals. If
you have any
photos of the
animals in
question, please
attach them
From: CID Info <CIDinfo@peta.org>
Sent: Fri, 25 Oct 2019 17:43:23 +0000
To: Zeynep Graves <ZeynepG@petaf.org>, Caitlin Hawks <CaitlinH@petaf.org>
CC: Brittany Peet <BrittanyP@petaf.org>, "Teresa Marshall (PETA Foundation)" <teresam@petaf.org>
Subject: RE: tri state zoo park FW: Report Animal Cruelty Form
Attachments:
- vid of man standing on bridge w board that moves.mp4 (9 mb)
Privileged
From: Zeynep Graves <ZeynepG@petaf.org>
Sent: Friday, October 25, 2019 1:25 PM
To: CID Info <CIDinfo@peta.org>; Caitlin Hawks <CaitlinH@petaf.org>
Ce: Brittany Peet <BrittanyP@petaf.org>; Teresa Marshall (PETA Foundation) <teresam@petaf.org>
Subject: RE: tri state zoo park FW: Report Animal Cruelty Form
Privileged
Zeynep Graves
Manager for Animal Law
PETA Foundation
2154 W. Sunset Blvd.
Los Angeles, CA 90026
T: (323) 210-2263
F: (213) 484-1648




                                                                                                                                                               Case 1:20-cv-01225-PX Document 71-38 Filed 12/20/21 Page 29 of 35
This message may be protected by the attorney-client privilege and/or the attorney work product doctrine. If you believe you have received this message in
error, please do not read it. Please reply to the sender that it has been sent in error and delete all copies of the message and its attachments. Thank you.
From: Teresa Marshall (PETA Foundation) <teresam@petaf.org>
Sent: Friday, October 25, 2019 8:17 AM
To: CID Info <ClDinfo@peta.org>; Zeynep Graves <ZeynepG@petaf.org>
Ce: Brittany Peet <BrittanyP@petaf.org>
Subject: RE: tri state zoo park FW: Report Animal Cruelty Form
Privileged
eresa Marshall
Information Officer
Captive Animal Law Enforcement
PETA Foundation
(757) 962-8323 (office)
(757) 628-0784 (fax)
PETA008666
*
Confidential
All beings seek for happiness; so let your compassion extend itself to all. ~ Mahavamsa
From: CID Info <ClDinfo@peta.org>
Sent: Friday, October 25, 2019 10:42 AM
To: Teresa Marshall (PETA Foundation) <teresam@petaf.org>
Subject: FW: tri state zoo park FW: Report Animal Cruelty Form
Privileged
Maura McKeon, PETA
Your gift to PETA will save animals. Please donate now.
From: Sarah Post <smercer10814@gmail.com>
Sent: Thursday, October 24, 2019 2:14 PM
To: CID Info <ClDinfo@peta.org>
Subject: Re: Report Animal Cruelty Form
Poor walk ways over a massive sized tiger's cage!!!
On Sun, Aug 18, 2019, 5:11 PM CID Info < ClDinfo@peta.org> wrote:
Hi Sarah,
Thanks very much for contacting us! PETA has been tracking the neglect of animals at this facility for years. Can you kindly email us the photos you took, as well as details
on what exactly you saw? Is there also a phone number where we can reach you? Please know we take your confidentiality very seriously.
We look forward to hearing from you!
Jenn, PETA
From| Confidential




                                                                                                                                                                                Case 1:20-cv-01225-PX Document 71-38 Filed 12/20/21 Page 30 of 35
Sent: Sunday, August T8, Z0T9 4:10 PM
To: CID Info <ClDinfo@peta.org>
Subject: Report Animal Cruelty Form
The issue I'm Exotic animals in captivity
reporting
involves:
Please enter
your contact
information
below.
First Name Sarah
on behalf of info@peta.org <info@peta.org>
PETA008667
*
Last Name Mercer
Address!) Confidential
Address 2
City
County
State/Province
Country/Region
Zip/Postal Code
Tel. (home)
Tel. (cell)
E-Mail
Address Where Tri-state zoological park
Animal Is
Located
City Where Cumberland
Animal Is
Located
County Where Allegany
Animal Is
Located
State Where MD




                                                  Case 1:20-cv-01225-PX Document 71-38 Filed 12/20/21 Page 31 of 35
Animal Is
Located
Country/Region United States
Where Animal
Is Located
Subject Line of Deplorable conditions!!
E-Mail
Please describe We recently visited the Tri-
your concern, state zoological park in
including the Cumberland maryland and the
names and condition if the animals living
contact spaces were absolutely
information of heartbreaking. They are living
the individuals in small. Filthy, broken, cages
and agencies and enclosers!! The whioe part
involved, dates is covered in feces and and
and times, the smells atrocious!! I have
exact location pictures of this evidence. But I
of the incident, am afraid to get into legal
and what has trouble by reaching out to you.
been done thus The "zoo" has a sign posted
far: out front saying anyone in
relation to PETA ect will be
charged and any customer
using photos for such purposes
will be prosecuted. The
volunteer knows I took
pictures since she followed me
around the whole time!!! I am
very willing to share pictures
as long as my name is
unmentioned. Feel free to
email me back at anytime, and
ASAP
Confidential
Photos help us
help animals. If
you have any
photos of the
animals in
question, please
attach them
PETA008668
*
From: CID Info <C|IDinfo@peta.org>
Sent: Tue, 25 Jun 2019 13:05:29 +0000
To: Jen O'Connor <Jeno@peta.org>
Subject: FW: Report Animal Cruelty Form
Animals at Tri-State Zoological Park
Maura McKeon, PETA
Your gift to PETA will save animals. Please donate now.
From:| Confidential
info@peta.org
Sent: Tuesday, June 25, 2019 12:55 AM
To: CID Info <CIDinfo@peta.org>
Subject: Report Animal Cruelty Form
The issue I'm Exotic animals in captivity
reporting
involves:
Please enter
your contact
information
below.
First Name Annie
Last Name Robinson




                                                          Case 1:20-cv-01225-PX Document 71-38 Filed 12/20/21 Page 32 of 35
Address 1 | Confidential
Address 2
City
County
State/Province
Country/Region
On Behalf Of
PETA002212
*
Zip/Postal Code 26151
Tel. (home)
Tel. (cell) |] Confidential
E-Mail
Address Where 8250, 10150 Cottage Inn Lane NE,
Animal Is Cumberland MD 21502
Located
City Where Cumberland
Animal Is
Located
County Where Allegany County
Animal Is
Located
State Where MD
Animal Is
Located
Country/Region United States
Where Animal
Is Located
Subject Line of Exotic Animal Abuse
E-Mail




                                                          Case 1:20-cv-01225-PX Document 71-38 Filed 12/20/21 Page 33 of 35
Please describe 6/23/19 multiple animals in very poor
your concern, conditions. Extremely dirty and It didna?
including the Tt seem the zoo was taking very good
names and care of these animals.
contact
information of
the individuals
and agencies
involved, dates
and times, the
exact location
of the incident,
and what has
been done thus
far:
PETA002213
*
Photos help us
help animals. If
you have any
photos of the
animals in
question, please
attach them
1191_20837232_20190625005520_1.jpeg
1191_20837232_20190625005520_2.jpeg
1191_20837232_20190625005520_3.jpeg
Uploaded Files:
1191_20837232_20190625005520_4.jpeg
1191_20837232_20190625005520_5.jpeg




                                      Case 1:20-cv-01225-PX Document 71-38 Filed 12/20/21 Page 34 of 35
From: CID Info <C|IDinfo@peta.org>
Sent: Thu, 05 Jul 2018 12:12:24 +0000
To: Jen O'Connor <Jeno@peta.org>
Subject: Tristate zoological park FW: Report Animal Cruelty Form
Sarah Preston, PETA
From:| Confidential
On Behalf Of PETA Info
Sent: Wednesday, July 04, 2018 8:33 PM
To: CID Info <CIDinfo@peta.org>
Subject: Report Animal Cruelty Form
PETA's Online
Community
The issue I'm
reporting
involves:
Please enter
your contact
information
below.
First Name
Last Name




                                                                   Case 1:20-cv-01225-PX Document 71-38 Filed 12/20/21 Page 35 of 35
Address 1
Address 2
City
County
State/Province
Country/Region
Zip/Postal Code
Yes
peta_general
Exotic animals in captivity
Vicki
Perris
Confidential
PETA002015
*
